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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Timothy P. Neumann, Esq. [TN6429]
 BROEGE, NEUMANN, FISCHER & SHAVER, LLC
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 Attorneys for Debtor/Debtor-in-Possession
 American Center for Civil Justice, Inc.

 In Re
                                                           CHAPTER 11
 AMERICAN CENTER FOR CIVIL JUSTICE, INC.,
                                                           CASE NO.: 18-15691/CMG
           Debtor.
                                                           Judge: Hon. Christine M. Gravelle


  MOTION TO QUASH SUBPOENAS SERVED ON THE LAW FIRMS OF LOEB &
  LOEB AND CAPLIN & DRYSDALE PURSUANT TO RULE 45, FED. R. CIV. PRO.,
                     AND BANKRUPTCY RULE 9016

           PLEASE TAKE NOTICE that the American Center for Civil Justice, Inc., by and

 through their undersigned counsel, will move before the Honorable Christine M. Gravelle, at

 the United States Bankruptcy Court, 402 East State Street, Trenton, New Jersey 08608, for entry

 of an order quashing or modifying the subpoenas issued to the law firms of Loeb & Loeb, LLP and

 Caplin & Drysdale,      and for such other and further relief as is just and proper under the

 circumstances (the "Motion").

           PLEASE TAKE FURTHER NOTICE that the Movants will rely upon the Certification

 of Neal Sher, Esq., and exhibits attached thereto, and Memorandum of Law filed simultaneously

 herewith in support of the relief sought. ·

           PLEASE TAKE FURTHER NOTICE that unless objections are timely presented, the

 Motion shall be decided on the papers in accordance with D.N.J. LBR 9013-3(d) and the requested


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 relief may be granted without a hearing.

           PLEASE TAKE FURTHER NOTICE that pursuant to D.N.J. LBR 9016-l(f) the Movants

 respectfully request oral argument of the Motion if a timely objection is filed.



                                              Respectfully submitted,

                                              Broege, Neumann, Fischer & Shaver, LLC
                                              Attorneys for Debtor and Debtor-in-Possession
                                              American Center for Civil Justice, Inc.


                                                  By:       /s/ Timothy P. Neumann
     Dated: January 29, 2019                                    Timothy P. Neumann




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